 Case 1:21-cv-00149-JLH          Document 383-1 Filed 10/31/24             Page 1 of 3 PageID #:
                                           25918



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

NORTHWESTERN UNIVERSITY,                        )
                                                )
                      Plaintiff(s),             )
                                                )
      v.                                        )    C.A. No. 21-149 (JLH)
                                                )
UNIVERSAL ROBOTS A/S and                        )
UNIVERSAL ROBOTS USA, INC.,                     )
                                                )
                      Defendants.               )

           STIPULATION OF DISMISSAL PURSUANT TO RULE 41(A)(1)(a)(ii)

       Plaintiff, Northwestern University, and Defendants, Universal Robots A/S and Universal

Robots USA, Inc., having reached a settlement agreement that resolves all matters in this

controversy and being all parties that have appeared in the above-captioned action, hereby stipulate

to the voluntary dismissal of this case with prejudice pursuant to the Federal Rule of Civil

Procedure 41(A)(1)(a)(ii) and with each party to bear its own fees and costs. This Court shall retain

jurisdiction only as necessary to effectuate the terms of the settlement agreement, which is

incorporated into this stipulation of dismissal by reference.




                                                 1
 Case 1:21-cv-00149-JLH           Document 383-1 Filed 10/31/24              Page 2 of 3 PageID #:
                                            25919



MORRIS, NICHOLS, ARSHT & TUNNELL LLP                 RICHARDS, LAYTON & FINGER, P.A.

/s/ Jeremy A. Tigan                                  /s/ Christine D. Haynes

Jeremy A. Tigan (#5239)                              Frederick L. Cottrell, III (#2555)
Cameron P. Clark (#6647)                             Christine D. Haynes (#4697)
1201 North Market Street                             920 North King Street
P.O. Box 1347                                        Wilmington, DE 19801
Wilmington, DE 19899                                 (302) 651-7700
(302) 658-9200                                       cottrell@rlf.com
jtigan@morrisnichols.com                             haynes@rlf.com
cclark@morrisnichols.com
                                                     OF COUNSEL:
OF COUNSEL:
                                                     Vinita Ferrera
Nevin M. Gewertz                                     Jason H. Liss
Rebecca T. Horwitz                                   James M. Lyons
Katherine E. Rhoades                                 WILMER CUTLER PICKERING HALE
Mac LeBuhn                                             AND DORR LLP
Ravi Shah                                            60 State Street
BARTLIT BECK LLP                                     Boston, MA 02109
54 W. Hubbard Street, Suite 300                      (617) 526-6000
Chicago, Illinois 60654
(312) 494-4400                                       Robert J. Gunther, Jr.
                                                     Christopher R. Noyes
John Hughes                                          WILMER CUTLER PICKERING HALE
BARTLIT BECK LLP                                       AND DORR LLP
1801 Wewatta Street, Suite 1200                      7 World Trade Center
Denver, Colorado 80202                               250 Greenwich Street
(303) 592-3100                                       New York, NY 10007
                                                     (212) 230-8800
Attorney for Plaintiff Northwestern University
                                                     David Cavanaugh
                                                     Jennifer L. Graber
                                                     WILMER CUTLER PICKERING HALE
                                                       AND DORR LLP
                                                     2100 Pennsylvania Ave., N.W.
                                                     Washington, D.C. 20037
                                                     (202) 663-6000

                                                     Attorney for Defendants Universal Robots A/S
                                                     and Universal Robots USA, Inc.

October 30, 2024



                                                 2
Case 1:21-cv-00149-JLH   Document 383-1 Filed 10/31/24     Page 3 of 3 PageID #:
                                   25920



           SO ORDERED this ______
                            31st day of ___________________,
                                         October             2024.




                                     The Honorable Jennifer L. Hall
                                     UNITED STATES DISTRICT JUDGE




                                      3
